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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 16 B 30745
         Jason J Webb
         Lisa Webb
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 09/27/2016.

         2) The plan was confirmed on 12/01/2016.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Converted on 08/10/2017.

         6) Number of months from filing to last payment: 10.

         7) Number of months case was pending: 13.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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 Receipts:

          Total paid by or on behalf of the debtor                    $15,120.00
          Less amount refunded to debtor                               $2,902.62

 NET RECEIPTS:                                                                                           $12,217.38


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                        $1,341.57
     Court Costs                                                                      $0.00
     Trustee Expenses & Compensation                                                $552.66
     Other                                                                            $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                         $1,894.23

 Attorney fees paid and disclosed by debtor:                            $0.00


 Scheduled Creditors:
 Creditor                                              Claim         Claim            Claim        Principal       Int.
 Name                                        Class   Scheduled      Asserted         Allowed         Paid         Paid
 American InfoSource LP                  Unsecured           0.00        156.71           156.71           0.00        0.00
 American InfoSource LP                  Unsecured           0.00        115.97           115.97           0.00        0.00
 American InfoSource LP                  Unsecured           0.00        417.90           417.90           0.00        0.00
 American InfoSource LP                  Unsecured           0.00        214.60           214.60           0.00        0.00
 American InfoSource LP                  Unsecured           0.00         82.30            82.30           0.00        0.00
 American InfoSource LP                  Unsecured           0.00         61.75            61.75           0.00        0.00
 AMITA Health Adventist Medical Center   Unsecured          75.00         75.00            75.00           0.00        0.00
 ATG CREDIT                              Unsecured          15.00           NA               NA            0.00        0.00
 Capital One Bank                        Unsecured           0.00           NA               NA            0.00        0.00
 Cmre. 877-572-7555                      Unsecured         225.00           NA               NA            0.00        0.00
 Comcast                                 Unsecured         381.29           NA               NA            0.00        0.00
 CreditBox.com LLC                       Unsecured           0.00      1,109.21         1,109.21           0.00        0.00
 CreditBox.com LLC                       Unsecured           0.00      3,402.68         3,402.68           0.00        0.00
 Dell Financial Services Inc             Unsecured      2,010.00       2,047.25         2,047.25           0.00        0.00
 Dell Financial Services Inc             Unsecured         910.00        930.72           930.72           0.00        0.00
 Harris                                  Unsecured         308.00           NA               NA            0.00        0.00
 I C System Inc                          Unsecured         534.00           NA               NA            0.00        0.00
 JP Morgan Chase Bank NA                 Secured       25,406.92     25,406.92        25,406.92       4,044.08      804.63
 Keynote Consulting                      Unsecured          95.00           NA               NA            0.00        0.00
 Mages & Price                           Unsecured         343.00           NA               NA            0.00        0.00
 Medicredit                              Unsecured         370.00           NA               NA            0.00        0.00
 Midland Funding LLC                     Unsecured         858.00        912.66           912.66           0.00        0.00
 Midland Funding LLC                     Unsecured         290.00        290.33           290.33           0.00        0.00
 NICOR Northern Illinois Gas             Unsecured      1,478.50            NA               NA            0.00        0.00
 OneMain Financial                       Secured       11,811.00     11,950.74        11,950.74            0.00        0.00
 Palos Health Last                       Unsecured          75.00           NA               NA            0.00        0.00
 Portfolio Recovery Associates           Unsecured      6,379.00       3,886.55         3,886.55           0.00        0.00
 Portfolio Recovery Associates           Unsecured           0.00        795.37           795.37           0.00        0.00
 Quantum3 Group                          Unsecured         250.00        266.44           266.44           0.00        0.00
 Santander Consumer USA Inc              Secured       28,386.87     28,386.87        28,386.87       4,407.34    1,067.10
 Sinai Medical Centers, LTD              Unsecured          44.51           NA               NA            0.00        0.00



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 Scheduled Creditors:
 Creditor                                        Claim         Claim        Claim         Principal       Int.
 Name                               Class      Scheduled      Asserted     Allowed          Paid          Paid
 Stanisccontr                    Unsecured           458.00           NA             NA           0.00        0.00
 Tek-Collect Inc                 Unsecured           143.00           NA             NA           0.00        0.00
 WEBBANK/FINGERHUT               Unsecured        1,268.00            NA             NA           0.00        0.00


 Summary of Disbursements to Creditors:
                                                                Claim          Principal                 Interest
                                                              Allowed              Paid                     Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00                  $0.00
       Mortgage Arrearage                                      $0.00              $0.00                  $0.00
       Debt Secured by Vehicle                            $65,744.53          $8,451.42              $1,871.73
       All Other Secured                                       $0.00              $0.00                  $0.00
 TOTAL SECURED:                                           $65,744.53          $8,451.42              $1,871.73

 Priority Unsecured Payments:
        Domestic Support Arrearage                              $0.00                 $0.00               $0.00
        Domestic Support Ongoing                                $0.00                 $0.00               $0.00
        All Other Priority                                      $0.00                 $0.00               $0.00
 TOTAL PRIORITY:                                                $0.00                 $0.00               $0.00

 GENERAL UNSECURED PAYMENTS:                              $14,765.44                  $0.00               $0.00


 Disbursements:

         Expenses of Administration                             $1,894.23
         Disbursements to Creditors                            $10,323.15

 TOTAL DISBURSEMENTS :                                                                          $12,217.38


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 10/30/2017                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.


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